The defendant Gigear, as county auditor in and for Perkins county, S.D., appeals from the judgment entering a peremptory writ of mandamus requiring his as county auditor to make, issue, and deliver to the plaintiff, Robinson, as township treasurer of Lincoln township of Perkins county, an order on the county treasurer of said Perkins county ordering and directing the said county treasurer to pay to the plaintiff the sum of $1,781.33, tax money and funds found by the court to belong to Lincoln township. *Page 289 
We have carefuly examined the assignments of error, and find nothing which, in our opinion, would justify a reversal of this case. It is our opinion, upon the facts as disclosed, that the issuance of the writ was within the sound discretion of the trial court, and no reason now appears why that discretion should here be disturbed.
The judgment appealed from is affirmed.
POLLEY, P.J., and CAMPBELL, ROBERTS, WARREN, and RUDOLPH, JJ., concur.